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                                                                             /HDYHWR)LOH*UDQWHG 12/4/24

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&RQVWLWXWLRQ$YHQXH1:
:DVKLQJWRQ'&

                         5H)UHHPDQHWDOY*LXOLDQLFY
'HDU-XGJH+RZHOO
        ,DPWKHSURVH'HIHQGDQWLQWKHDERYHUHIHUHQFHGDFWLRQ,ZULWHWRUHTXHVWDWKLUW\GD\
H[WHQVLRQ WR ILOH D UHVSRQVH DQG RSSRVLWLRQ WR 3ODLQWLIIV¶ 0RWLRQ IRU &LYLO &RQWHPSW ILOHG
1RYHPEHU6HH'NW1R,IWKLVUHTXHVWLVJUDQWHGWKHUHVSRQVHDQGRSSRVLWLRQZLOO
EHILOHGRQ-DQXDU\LQVWHDGRI'HFHPEHUWKHGHDGOLQHWKDWZDVVHWE\WKH&RXUW
6HH1RYHPEHU6FKHGXOLQJ2UGHU
         7KHSULPDU\UHDVRQIRUWKLVUHTXHVWHGH[WHQVLRQLVWKDW,QHHGPRUHWLPHWRILQGDQDWWRUQH\
WRUHSUHVHQWPHLQWKLVPDWWHUHVSHFLDOO\QRZWKDW3ODLQWLIIVDUHPDNLQJDOOHJDWLRQVVHHNLQJFLYLO
FRQWHPSW,KDYHVSRNHQWRIRXUDWWRUQH\VDQGHDFKDWWRUQH\KDVGHFOLQHGWRKDQGOHWKLVPDWWHU
EHFDXVH WKH\ EHOLHYH<RXU +RQRU LV XQUHDVRQDEOH DQG ELDVHG DERXW7UXPS UHODWHG PDWWHUV DQG
³LGHRORJLFDO UDWKHU WKDQ ORJLFDO´ 2QH VDLG LW ZDV ³D IRUHJRQH FRQFOXVLRQ´ DQG ³D QRZLQ
SURSRVLWLRQ´$PRQJRWKHUQXPHURXVUHDVRQV\RXUKDQGOLQJRIWKH-FDVHVLVFRQVLGHUHGE\PDQ\
WREHWKHPRVWXQQHFHVVDULO\KDUVK7KH\DOVRFLWHGREMHFWLRQVRIWKHLUILUPWRWKHHIIHFWRQWKHLU
SUDFWLFH6RPHZHUHZLOOLQJWRDVVLVWLQP\RWKHUFDVHVEXWQRWWKLVRQH$GGLWLRQDOO\WKHGLIILFXOW\
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3ODLQWLIIV LQ JUDQWLQJ WKLV H[WHQVLRQ VLQFH , ZLOO DJUHH WR DELGH E\ WKHLU LQWHUSUHWDWLRQ RI WKH
UHVWULFWLRQVRQZKDW,FRQVLGHUP\ULJKWRIIUHHVSHHFKDQGWRGHIHQGP\VHOIDJDLQVWWKHLUIDOVH
VWDWHPHQWVXQWLOWKHPDWWHULVKHDUG
        7RWKHH[WHQWWKDWWKH&RXUWLVQRWZLOOLQJWRJLYHPHDQH[WHQVLRQWRILQGDQDWWRUQH\,DVN
IRUDWOHDVWWKUHHZHHNVVRWKDW,FDQSUHSDUHP\UHVSRQVHRQDSURVHEDVLVWRSURSHUO\VHWRXW
EHIRUHWKH&RXUWWKDWWKHSXUSRUWHGFRPPHQWVPHQWLRQHGLQWKH3ODLQWLIIV¶PRWLRQIRUFRQWHPSW
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